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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION

 ROSEBUD SIOUX TRIBE et al.,

 Plaintiffs,                                            CV-20-109-GF-BMM

 v.
                                                         ORDER
 UNITED STATES DEPARTMENT
 OF THE INTERIOR et al.,

 Defendants.

      Plaintiffs have moved for an order allowing Michael L. Campbell, Esq., to

appear pro hac vice in this case with Wesley J. Furlong, Esq., designated as local

counsel. The application of Mr. Campbell appears to be in compliance with L.R.

83.1(d).

      IT IS ORDERED:

      Plaintiffs’ motion to allow Mr. Campbell to appear on their behalf (Doc. 5) is

GRANTED, subject to the following conditions:

      1.       Local counsel shall exercise the responsibilities required by L.R.

83.1(d)(5) and must be designated as lead counsel or as co-lead counsel;
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      2.       Mr. Campbell must do his own work. He must do his own writing,

sign his own pleadings, motions, briefs, and, if designated co-lead counsel, must

appear and participate personally in all proceedings before the Court;

      3.       Local counsel shall also sign all such pleadings, motions and briefs

and other documents served or filed; and

      4.       Admission is personal to Mr. Campbell not the law firm he works for.

      IT IS FURTHER ORDERED:

      Mr. Campbell must file, within fifteen (15) days from the date of this Order,

an acknowledgment and acceptance of their admission under the terms set

forth above.

      DATED this 12th day of January 2021.




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